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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF OKLAHOMA

United States of America,
Plaintiff,
vs. Case No.: 21-mj-00549-SH
ORDER: RULE 5 “BRADY”
Laura Kay Sawyer , DISCLOSURE
Defendant(s).

As required by Fed. R. Crim. P. 5(f)(1) and N.D. Okla. General Order 21-01, the Court

confirms the disclosure obligation of the prosecutor under Brady v. Maryland, 373 U.S. 83 (1963) and

its progeny, and orders the United States to comply with that obligation in this case. Failure to timely
comply may result in consequences, including but not limited to exclusion of evidence, adverse jury
instructions, dismissal of charges, contempt proceedings, or sanctions by the Court.

IT IS SO ORDERED this 9 day of August, 2021.

Jodi F. Jdyhe, U.S. Mafistrate Judge

Order: Rule 5 “Brady” Disclosure CR-12 (CR-12 Modified 2/2021)
